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Napa, CA 94559

(707) 258-1030

Attorney for Debtors Manuel Gomes and Rosa Gomes

U.S. BANKRUPTCY COURT

NORTHERN DISTRICT OF CALIFORNIA
SANTA ROSA DIVISION

In re: Manuel Gomes and Rosa Gomes Case No.: 17-10615

Debtors: Manuel Gomes and Rosa Gomes _— Chapter 12

NOTICE AND OPPORTUNITY FOR HEARING ON DEBTORS’
APPLICATION FOR APPROVAL OF ATTORNEY’S FEES

NOTICE IS HEREBY GIVEN debtors have filed an Application for
Approval of Debtors’ Attorney’s Fees.

 

Any objection to the requested relief, or a request for hearing
on the matter, must be filed and served upon the initiating party
within 21 days of mailing the notice;

Any objection or request for a hearing must be accompanied by
any declarations or memoranda of law any requesting party wishes
to present in support of its position;

If there is no timely objection to the requested relief or a

request for hearing, the court may enter an order granting the relief
by default.

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In the event of a timely objection or request for hearing, the
initiating party will give at least seven days written notice of the
hearing to the objecting or requesting party, and to any trustee or
committee appointed in the case.

Dated: September 29, 2017 ie)
S,

C. L. Gravett, Hl
Attorney for Debtors

 

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NORTHERN DISTRICT OF CALIFORNIA
SANTA ROSA DIVISION

In re: Manuel Gomes and Rosa Gomes Case No.: 17-10615

Debtors: Manuel Gomes and Rosa Gomes — Chapter 12

APPLICATION FOR APPROVAL OF ATTORNEY’S FEES

Debtors hereby file this Application for Approval of Debtors’ Attorney’s
Fees. This application is noticed with an opportunity for hearing. Upon a timely
request, a hearing will be set to be heard before the Honorable Dennis Montali at
the Bankruptcy Court. This application is based upon the papers and documents
filed herein, and any oral argument which may be presented at the time of hearing.
1. Debtors’ attorney, C. L. Gravett, III, requests the approval of attorney’s
fees in the sum of $10,335.00, pursuant to the attorney’s fee disclosure
statement filed with the Court. Of the sum requested, the amount of
$2835.00 has been previously paid to debtors’ attorney.
2. In addition to the basic case, debtors case involves:
___X_____ Real Property Claims

Additional Parcels of real property with encumbrances

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___X___Unfiled tax returns or objection to claims of taxing agencies
Vehicle loans or leases
___X_____ An operating business
Twenty-five or more creditors
Domestic Support Claims
Student Loans
Motion to Extend Stay
Motion to Avoid Lien
__X___ Other: Defunct out-of-state liquor business; interest in a trust;
substantial claims from federal and state tax agencies.

3. All fees are subject to Court approval, whether paid in advance or

through the plan.

Dated: September 29, 2017 ie)
S

 

C. L. Gravett, Hl
Attorney for Debtors

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